Dear Mr. Way,
The Attorney General is in receipt of your request for an opinion wherein you ask, in effect, the following question:
In lieu of the per diem rate provided by 57 O.S. 332.4 (1975), shouldthe chairman and members of the Pardon and Parole Board be reimbursed formeals and lodging in the same manner and at the same rates as provided bythe State Travel Reimbursement Act, 74 O.S. 500.1[74-500.1] et seq.(1978), amended by House Bill No. 1377, effective July 1, 1979, for otherState officials and employees?
74 O.S. 500.1, et seq. (1972), entitled the State Travel and Reimbursement Act, sets out the per diem reimbursement rate for meals and lodging for State officials and employees and provides in 74 O.S. 500.18:
  "The provisions of this act shall be mandatory as to all officials and employees of all departments, boards, commissions and institutions of the State of Oklahoma, regardless of the provisions of any other prior act of the Legislature. The enactment of any measure in the future providing for travel reimbursement of state officers and employees on the basis of actual and necessary expenses or in any other manner inconsistent with this act shall be deemed to provide for reimbursement in accordance with this act unless contrary intent is explicitly expressed." (Emphasis added)
The above-quoted section became effective July 1, 1972.
Thus, the per diem reimbursement rate for meals and lodging for state officials and employees set down by the State Travel and Reimbursement Act is mandatory as to all officials and employees of the State of Oklahoma unless a contrary intent is explicitly expressed in a later enactment.
57 O.S. 332.4 (1975), fixes the compensation and expenses for the Chairman and members of the Pardon and Parole Board and provides in pertinent part:
  ". . . In addition, the chairman and members of said Pardon and Parole Board shall receive their actual and necessary expenses while attending and going to and from meetings of the Board and in performing their official duties, according to the State Travel Reimbursement Act, except that the Chairman and members shall receive a per diem for meals and lodging of Twenty-five Dollars ($25.00)." (Emphasis added)
57 O.S. 332.4, which became effective on May 30, 1975, explicitly expresses the intention that the members of the Pardon and Parole Board be specifically excepted from the State Travel and Reimbursement Act in regard to their per diem reimbursement rate for meals and lodging.
Effective July 1, 1979, House Bill No. 1377 in Section 2 and 3 amended the State Travel Reimbursement Act, 74 O.S. 500.8 and 74 O.S. 500.9 (1978), increasing the per diem reimbursement rate for meals and lodging for state officials and employees from twenty-one dollars ($21.00) to thirty-two dollars ($32.00), and thirty-eight dollars ($38.00) in Tulsa and Oklahoma Counties. H.B. 1377 makes no provision regarding 57 O.S. 332.4 (1975), or the State Pardon and Parole Board in any manner.
It is the clear legislative intent as expressed in 57 O.S. 332.4 (1975), that the Chairman and members of the State Pardon and Parole Board be compensated according to the State Travel Reimbursement Act, except for receiving their per diem for meals and lodging according to 57 O.S. 332.4.
The Court in Reubin v. Thompson, 406 P.2d 263 (Okla. 1965) stated the general rule of construction with respect to a specific statutory provision controlling a general one:
  "Where there are two provisions of the statutes, one of which is special and particular and clearly includes the matter in controversy, and where the special statute covering the subject prescribes different rules and procedure from those in the general statute, it will be held that the special statute applies to the subject matter, and that the general statute does not apply."
 It is, therefore, the opinion of the Attorney General that the StateTravel Reimbursement Act, 74 O.S. (1978), as amended by H.B. 1377, doesnot supersede 57 O.S. 332.4 (1975) as that section explicitly excepts theper diem reimbursements for meals and lodging for the chairman and membersof the State Pardon and Parole Board from the State Travel andReimbursement Act.
JAN ERIC CARTWRIGHT, ATTORNEY GENERAL OF OKLAHOMA
STEPHEN F. SHANBOUR, ASSISTANT ATTORNEY GENERAL